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BY THE PRESIDENT OF THE UNITED STATES OF AMERICA

A PROCLAMATION

This proclamation ends a grave national injustice that has been perpetrated upon the American people
over the last four years and begins a process of national reconciliation.

Acting pursuant to the grant of authority in Article II, Section 2, of the Constitution of the United States, I
do hereby:

(a) commute the sentences of the following individuals convicted of offenses related to events that
occurred at or near the United States Capitol on January 6, 2021, to time served as of January 20, 2025:

•   Stewart Rhodes

•   Kelly Meggs

•   Kenneth Harrelson

•   Thomas Caldwell

•   Jessica Watkins

•   Roberto Minuta

•   Edward Vallejo

•   David Moerschel

•   Joseph Hackett

•   Ethan Nordean

•   Joseph Biggs

•   Zachary Rehl

•   Dominic Pezzola

•   Jeremy Bertino

(b) grant a full, complete and unconditional pardon to all other individuals convicted of offenses related
to events that occurred at or near the United States Capitol on January 6, 2021;

The Attorney General shall administer and effectuate the immediate issuance of certificates of pardon to
all individuals described in section (b) above, and shall ensure that all individuals convicted of offenses
relat~d to events that ?ccurred at or near the United States C~JJ_it~! ()fl January 6, 2021_, ~_!J.o 3!~ CUI"fently
held in prison are released immediately. The Bureau of Prisons shall immediately implement all
instructions from the Department of Justice regarding this directive.
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     I further direct the Attorney General to pursue dismissal with prejudice to the government of all pending
     indictments against individuals for their conduct related to the events at or near the United States Capitol
     on January 6, 2021. The Bureau of Prisons shall immediately implement all instructions from the
     pepartme°:to_Qustice regarding thi~ d~ec!ive.

        IN WITNESS WHEREOF, I have hereunto set my hand this

     twentieth day of January, in the year of our Lord two thousand twenty-five, and of the Independence of
     the United States of America the two hundred and forty-ninth.




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